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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

ALONZO HAMPTON                                                          PLAINTIFF
ADC #137559

V.                       CASE NO. 4:20-CV-1112-JM-BD

WENDY KELLEY,
Secretary of Correction, ADC;
DEXTER PAYNE,
Director, Arkansas Division of Correction;
RAYMOND NAYLOR,
Disciplinary Hearing Administrator;
JARED BYERS,
Head Warden, Maximum Security Unit;
KEITH WADDLE;
JUSTINE MINOR; and
LASONYA SCOTT                                                        DEFENDANTS

                                   JUDGMENT

      Consistent with the Order that was entered on this day, it is CONSIDERED,

ORDERED, and ADJUDGED that this case is hereby DISMISSED, WITHOUT

PREJUDICE.

      IT IS SO ORDERED, this 19th day of October, 2020.


                                             ________________________________
                                             UNITED STATES DISTRICT JUDGE
